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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE                       ClerK, u • .:>. u1smc'( Goun.
                                   AT GREENEVILLE                              Eastern District of Tennessee
                                                                                      At Greeneville

 UNITED STATES OF AMERICA,                        )
                                                  )                 '1 : JO -er- I/ D
                                                              No. -o<
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         V.                                       )
                                                  )
 ARUNKAPOOR                                       )


                                         INFORMATION

The United States Attorney for the Eastern District of Tennessee charges:




                                        COUNT ONE
                (Introduction of Misbranded Drugs into Interstate Commerce
                           with the Intent to Defraud and Mislead,
                           21 U.S.C. §§ 331(a), 352(a)(l), 333(a)(2))

        On or about September 19, 2017, in the Eastern District of Tennessee and elsewhere, the

defendant ARUN KAPOOR, with the intent to defraud and mislead, introduced, delivered, and

caused to be introduced and delivered, into interstate commerce from Florida to patient B.N. in

the Eastern District of Tennessee, Cifrazol 3,775-lmg cap (69336-0310-30), a drug that was

misbranded in that its labeling was false and misleading in any particular, all in violation of 21

U.S.C. §§ 33 l(a), 352(a)(l), and 333(a)(2).




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Case 2:20-cr-00110-JRG-CRW Document 1 Filed 11/30/20 Page 1 of 2 PageID #: 1
                               Approved:

                                     J. DOUGLAS OVERBEY
                                     UNITED STATES ATTORNEY




                                     Mac D. Heavener, III
                                     Assistant United States Attorney


                               By:
                                     David L. Gunn
                                     Trial Attorney
                                     US Department of Justice
                                     Consumer Protection Branch




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Case 2:20-cr-00110-JRG-CRW Document 1 Filed 11/30/20 Page 2 of 2 PageID #: 2
